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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION


   VIAHART, LLC

           Plaintiff,                         Civil Action No. 6:18-cv-00604

   v.                                         Judge: Hon. Robert W. Schroeder, III

   DOES 1-54                                  Magistrate: Hon. K. Nicole Mitchell

           Defendants




                                        ORDER

          Pending before the Court is Plaintiff Viahart, LLC’s Motion for Alternative

  Service of Process. Upon consideration of the foregoing, the record in this case, and

  all other required matters, it is hereby ORDERED that good cause exists for

  Plaintiff’s delay in serving the Defendants, and that Plaintiff’s diligence in

  attempting to serve the Defendants to-date satisfies Federal Rule of Civil Procedure

  4(m) and the “flexible due diligence” standard employed by the Fifth Circuit. It is

  further ORDERED that Plaintiff may serve the Defendants via email according to

  Federal Rules of Civil Procedure 4(f)(3) and 4(e)(1), and according to Texas Rule of

  Civil Procedure 106(b)(2), as this would be reasonably calculated to provide the

  Defendants with notice of this lawsuit. Plaintiff’s Motion for Alternative Service of

  Process must therefore be in all respects GRANTED.

        IT IS SO ORDERED.
